              Case 3:19-md-02913-WHO Document 3994 Filed 04/28/23 Page 1 of 5

                                UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA

Case No: 19-md-02913-WHO
Case Name: In Re: Juul Labs, Inc., (San Francisco Unified School District v. Juul (Case No. 20-cv-8117-WHO)

                            TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                              PLAINTIFF ATTORNEYS:                  DEFENSE ATTORNEYS:
 William H. Orrick                   Sarah London, Dena Sharp, and         Beth Wilkinson, Brian Stekloff,
                                     Thomas Cartmell                       and John Massaro
 TRIAL DATE: 04/28/2023              REPORTER:                             CLERK:
 8:03 a.m. to 1:27 p.m.              Debra Pas                             Jean Davis
 5 hours and 24 minutes

 PLF    DEF TIME
 NO.    NO. OFFERED             ID      REC     DESCRIPTION
            8:03 a.m.                           In camera conference conducted. Counsel London, Sharp,
                                                Wilkinson, Stekloff and Massaro present. Motions and
                                                objections discussed. Exhibits 5079 and 5140 will be barred
                                                from admission. Counsel should meet and confer as to
                                                appropriate examination of witness Pritzker.
               8:20 a.m.                        Court in recess
               8:31 a.m.                        Court in session (jurors present)
                                                Testimony of William F. Gifford, Jr. presented by way of
                                                video deposition excerpts continues (Pl: 12 mins, Def: 16
                                                mins)
               9:00 a.m.                        Plaintiff announces exhibits admitted pursuant to stipulated
                                                order of the Court (Cartmell)
 74            9:01 a.m.                X       12/06/2018 Email from Brian Blaylock to Jwappler, et al.
                                                Re: BoD Portal presentations
 75            9:01 a.m.                X       12/13/2017 Email from Brian Blaylock to Howard Willard
                                                et al. Re: Updated Project Tree presentation
 642           9:01 a.m.                X       05/10/2018 Email from Brian Blaylock to Howard Willard
                                                et al. Re: Project Tree - BOD Full presentation
 643           9:01 a.m.                X       Kaplan, B. et al. "The Youth e-cigarette epidemic: New
                                                estimates of JUUL Labs revenue from youth users in the
                                                US" Tobacco Induced Diseases, March 2, 2021
 1633          9:01 a.m.                X       10/04/2018 Email from Murray Garnick to Howard Willard
                                                et al. Re: Thoughts about tomorrow's Board call and
                                                Attachment
 76            9:01 a.m.                X       10/15/2018 Email from Paige Magness to Howard Willard et
                                                al. Re: Town Hall Plan w-Draft Script for October Townhall
 644           9:01 a.m.                X       10/25/2018 Email from Howard Willard to Nicholas Pritzker
                                                et al. Re: Altria Response to FDA Letter
 1838          9:01 a.m.                X       12/20/2018 Altria Makes $12.8 Billion Minority Investment
                                                in JUUL to Accelerate Harm Reduction and Drive Growth -
                                                Business Wire
 2898          9:01 a.m.                X       1/5/2019 Email from Todd Walker to Murray Garnick Re:
                                                Re: FDA action items/Juul coordination
                                                       1
              Case 3:19-md-02913-WHO Document 3994 Filed 04/28/23 Page 2 of 5


                                    Case No: 19-md-02913-WHO
       Case Name: Madison County Publice Schools v. In Re: Juul Labs, Inc., Marketing, Sales Practices
                                          Date: April 28, 2023
       Courtroom Deputy: Jean Davis              - Court Reporter:     Debra Pas

                              EXHIBIT and WITNESS LIST CONTINUED

PLF     DEF TIME
NO.     NO. OFFERED             ID     REC      DESCRIPTION
645         9:01 a.m.                  X        01/06/2019 Email from Murray Garnick to Howard Willard
                                                et al. Re: Juul proposal
712            9:01 a.m.               X        Services Agreement - Altria Group, Inc. and JUUL Labs,
                                                Inc. - 12/20/2018
77             9:01 a.m.               X        02/14/2019 Email from Murray Garnick to Howard Willard
                                                and William Gifford Re: Early Impact: JUUL
646            9:01 a.m.               X        09/26/2018 Email from 'ALCS Investor Relations
                                                Information Delivery' to Howard Willard et al. Re: Analyst
                                                Comments
1868           9:01 a.m.               X        6/28/2018 Email from Dinya Devitre to William Gifford Re:
                                                Jefferies - Tobacco - Nielsen US cigarette industry vols -
                                                stop with all the negativity -- 06.26.18.pdf
647            9:01 a.m.               X        10/31/2018 Email from William Gifford to Murray Garnick
                                                Re: Publication of First Youth Juul Usage Data
1992           9:01 a.m.               X        11/1/2018 Email from Elizabeth Mountjoy to ALCS team
                                                Re: FW: Analyst Comments
2910           9:01 a.m.               X        11/13/2018 JUUL Labs Action Plan - Message from Kevin
                                                Burns
               9:02 a.m.                         Plaintiff indicates that “trial exhibit 31023” was omitted
                                                from the announcement (deposition exhibit 31023 is trial
                                                exhibit 1868)
               9:02 a.m.                        Testimony of Howard Arnold Willard, III presented by
                                                way of video deposition excerpts
               10:00 a.m.                       Jurors excused
               10:01 a.m.                       Admission of Exhibit 965 discussed outside the presence of
                                                the jurors
               10:04 a.m.                       Exhibit 47 discussed; exhibit is admitted by stipulation
               10:06 a.m.                       Court in recess
               10:21 a.m.                       Court in session (jurors present)
                                                Continuing testimony of Howard Arnold Williard, III
                                                presented by way of video deposition excerpts (Pl: 1 hr, 3
                                                mins, Def: 31 mins)
               11:01 a.m.                       Plaintiff announces exhibits admitted pursuant to stipulated
                                                order of the Court (Cartmell)
3302           11:01 a.m.              X        1/2/2020 Richter, R. Has Smoking Lost Its Cool?
                                                https://www.statista.com/chart/20385/cigarette-sales-in-the-
                                                united-states/
988            11:01 a.m.              X        Foundation for a Smoke-Free World website homepage

                                                     2
             Case 3:19-md-02913-WHO Document 3994 Filed 04/28/23 Page 3 of 5

                                        Case No: 19-md-02913-WHO
Case Name: In Re: Juul Labs, Inc., (San Francisco Unified School District v. Juul (Case No. 20-cv-8117-WHO)
                                            Date: April 28, 2023
      Courtroom Deputy: Jean Davis                 - Court Reporter:      Debra Pas

                             EXHIBIT and WITNESS LIST CONTINUED

PLF    DEF TIME
NO.    NO. OFFERED              ID     REC     DESCRIPTION
992        11:01 a.m.                  X       06/02/2017 Email from D. Wise to J. Wappler et al. Re:
                                               Project Tree Draft
994            11:01 a.m.              X       Email from B. Chambers to Howard Willard et al. re: Draft
                                               3 year Strategic Plan Board of Directors Presentation
952
956            11:01 a.m.              X       2/27/2019 Email from S. Quigley to Howard Willard, et al.
                                               Re: March 2019 Executive Summit Agenda and Logistics
42             11:01 a.m.              X       10/15/2019 Letter from Justin P. Hedge to James E. Abell
                                               III, Esq. Re: Request for Additional Information and
                                               Documentary Materials Issued to Altria Group, Inc., No.
                                               20190791
23             11:01 a.m.              X       JUUL Teen Tabulations - Percent Appealing to Teens
                                               (Flavors)
961            11:01 a.m.              X       10/17/2018 Email from Paige Magness to Howard Willard,
                                               et al. Re: October Town Hall Plan
965            11:01 a.m.              X       09/15/2019 Email from Paige Magness to Howard Willard
                                               Re: HAW Video Outline 9.15.2019
249            11:01 a.m.              X       10/4/2018 Outline re: Three topics: Restructuring, FDA, and
                                               Tree (Notes for board call)
971            11:01 a.m.              X       09/12/2018 Statement from FDA Commissioner Scott
                                               Gottlieb, M.D., on new steps to address epidemic of youth e-
                                               cigarette use
972            11:02 a.m.              X       09/12/2018 letter from FDA to Howard Willard Re:
                                               MarkTen
195            11:02 a.m.              X        10/02/2018 Email from Murray Garnick to William Gifford
                                               and Kevin Crosthwaite Re: Draft Outline - Engagement with
                                               Commissioner Gottlieb
368            11:02 a.m.              X       DRAFT Outline for Meeting with Commissioner Gottlieb,
                                               October 18, 2018 - Altria
46             11:02 a.m.              X       10/4/2018 Outline re: Three topics: Restructuring, FDA, and
                                               Tree (Notes for board call)
998            11:02 a.m.              X       10/14/2018 Email from Anthony Reale to Howard Willard et
                                               al. Re: Tree Term Sheet.
975            11:02 a.m.              X       10/18/2018 Email from Murray Garnick to Howard Willard
                                               Re: Antitrust council
12             11:02 a.m.              X       10/25/2018 Letter from Howard Willard to Scott Gottlieb
                                               Re: underage use of e-vapor products
72             11:02 a.m.              X       10/30/2018 Email from Murray Garnick to Howard Willard
                                               Re: FDA Update
2925           11:02 a.m.              X       2/6/2019 Letter from Scott Gottlieb to Howard Willard

                                                    3
            Case 3:19-md-02913-WHO Document 3994 Filed 04/28/23 Page 4 of 5

980          11:02 a.m.         X     7/28/2017 Email from W. Hilsman to J. Dillard, et al. Re:
                                      Commissioner Gottlieb's Prepared Remarks from today's
                                      announcements
982          11:02 a.m.         X     10/31/2018 FDA Statement from FDA Commissioner Scott
                                      Gottlieb, M.D., on meetings with industry related to the
                                      agency's ongoing policy
983          11:02 a.m.         X     11/13/2018 JUUL Labs Action Plan - Message from Kevin
                                      Burns
984          11:02 a.m.         X     03/04/2019 Email from Paige Magness to Murray Garnick et
                                      al. Re: Approach to FDA Announcements on E-Vapor
985          11:02 a.m.         X     03/13/2019 Statement from FDA Commissioner Scott
                                      Gottlieb, M.D., on advancing new policies aimed at
                                      preventing youth access to, and appeal of, flavored tobacco
987          11:02 a.m.         X     11/15/2018 Email from Joe Murillo to M. Garnick, et al. Re:
                                      Statement from FDA Commissioner Scott Gottlieb, M.D.,
                                      on Proposed new steps to protect youth by preventing access
                                      to flavored tobacco products and banning menthol in
                                      cigarettes
989          11:03 a.m.         X     12/11/2018 Email from Brian Blaylock to William Gifford
                                      et al. Re: Project Tree (DEC BoD updated 12.11 Final) and
                                      Discussion Materials - Eagle (BoD 12.11)
             11:03 a.m.               Plaintiff reads stipulation of parties to the jury (Cartmell)
             11:03 a.m.               Testimony of James Xu presented by way of video
                                      deposition excerpts (Pl: 15 mins, Def: 6 mins)
             11:25 a.m.               Plaintiff announces exhibits admitted pursuant to stipulated
                                      order of the Court (Cartmell)
1017         11:25 a.m.         X     4/1/2019 Email from James Xu to Russell Rogers et al. Re:
                                      meeting on continued discussion to resolve serious issues
                                      created for Avail by Altria's shift in strategy
2740         11:25 a.m.         X     12/7/2015 Investment Agreement between Altria Ventures,
                                      Inc. and Avail Vapor, LLCYRBS
             11:26 a.m.               Plaintiff direct examination of Erica Lingrell (Sharp)
5074         11:50 a.m.    X    X     (no objection)
             11:55 a.m.               Jurors excused; court in recess
             12:09 a.m.               Court in session (jurors out)
                                      Plaintiff counsel provides brief overview of afternoon
                                      schedule.
             12: 11 a.m.              Jurors seated
                                      Plaintiff direct examination of Erica Lingrell continues
                                      (Sharp)
       5077 12:16 a.m.     X    X     Vaping 101 For Middle School What to know and What to do
                                      Micelle Rait and Lynda Boyer-Chu TUPE Nurse Facilitators,
                                      SFUSD School Year 2019-20 (no objection)
             12:29 p.m.               Defense cross examination of Erica Lingrell (Stekloff)
       7076 12:34 p.m.     X    X     Email 08/21/2019 (no objection)
       6249 12:38 p.m.     X    X     Email 11/25/2019 (objection overruled)
       7115 12:45 p.m.     X    X     YRBS Survey results report (no objection)

                                           4
                Case 3:19-md-02913-WHO Document 3994 Filed 04/28/23 Page 5 of 5

         7116 12:45 p.m.             X       X       YRBS Survey results report (no objection)
         7117 12:45 p.m.             X       X       YRBS Survey results report (no objection)
                  12:53 p.m.                         Plaintiff redirect of Erica Lingrell (Sharp)
                  1:00 p.m.                          Defense follow up examination of Erica Lingrell (Stekloff)
                  1:01 p.m.                          Plaintiff follow up examination of Erica Lingrell (Sharp)
                  1:01 p.m.                          Witness excused
                  1:03 p.m.                          Plaintiff direct examination of Madeline Cho (Sharp)
 5117             1:15 p.m.          X       X       2/7/2020 Email from Nina H. Mayer to Susan C. Saunders
                                                     Re: New Bathroom Policy (no objection)
                  1:20 p.m.                          Defense waives cross examination
                  1:20 p.m.                          The Court reminds jurors of the Court’s admonitions as to
                                                     their conduct.
                  1:25 p.m.                          Jurors dismissed
                  1:27 p.m.                          Court in recess

Plaintiff time at start of day:   27 hours, 50 minutes
Time used 04/28/2023:              2 hours, 53 minutes
Time remaining:                   24 hours, 57 minutes

Defendant total time:             35 hours, 55 minutes
Time used 04/28/2023:              1 hour 18 minutes
Time remaining:                   34 hours, 37 minutes




                                                          5
